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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:13-00090-05

TERRY MULLINS


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On September 25, 2017, the United States of America

appeared by John J. Frail, Assistant United States Attorney, and

the defendant, Terry Mullins, appeared in person and by his

counsel, Christian M. Capece, Federal Public Defender, for a

hearing on the petition on supervised release submitted by

United States Probation Officer Justin L. Gibson.              The defendant

commenced a 30-month term of supervised release in this action

on May 24, 2016, as more fully set forth in the Supervised

Release Revocation and Judgment Order entered by the court on

January 11, 2016.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

violated federal and state law inasmuch as on July 7, 2017,

pursuant to a voluntary search of his vehicle by two parole

officers, the defendant was found to be in possession of two

hydrocodone pills and nineteen oxycodone pills without a

prescription by a physician, as well as two LSD stamps, as

evidenced by the defendant’s admission on the record of the

hearing that the government possesses sufficient proof to prove

the violations by a preponderance of the evidence; (2) the

defendant used and possessed controlled substances as evidenced

by a positive urine specimen submitted by him on April 21, 2017,

for amphetamine, methamphetamine and oxycodone, the defendant

having admitted to the probation officer on May 10, 2017, that

he used methamphetamine prior to screen, and that he had used

methamphetamine on or about May 2, 2017; a positive urine

specimen submitted by him on May 17, 2017, for amphetamine and

methamphetamine; and a positive urine specimen submitted by him

on July 7, 2017, for amphetamine and methamphetamine, the

defendant having admitted to the probation officer on July 8,

2017, that he used methamphetamine on July 6, 2017; (3) the
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defendant left the judicial district, the Southern District of

West Virginia, without permission inasmuch as on July 7, 2017,

the probation officer received a phone call from a West Virginia

Division of Corrections Parole Officer who indicated that the

defendant had transported one of their female clients, Anne

Jarvis, to the Elkins Parole Office located in the Northern

District of West Virginia; (4) the defendant associated with a

person convicted of a felony without the permission of the

probation officer inasmuch as on July 7, 2017, the defendant, as

set forth above, was in the company of Anne Jarvis who is a

convicted felon; (5) the defendant failed to report for urine

screens as instructed on June 2 and 14, 2017; (6) the defendant

failed to attend individual substance abuse counseling as

instructed in May and June, 2017; and (7) the defendant failed

to complete an inpatient substance abuse treatment program for a

period of 28 days as directed by the probation officer inasmuch

as he entered Prestera at Pinecrest on June 9, 2017, and was

terminated on June 26, 2017, after failing to abide by facility

rules; all as admitted by the defendant on the record of the

hearing with the exception of (1) as set forth above and all as

set forth in the petition on supervised release.




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           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to

the extent set forth below, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

EIGHT (8) MONTHS, to be followed by a term of twenty-two (22)

months of supervised release upon the standard conditions of

supervised release now in effect in this district as promulgated

by the Administrative Office of the United States Courts

(National Form AO 245B), the standard conditions as set forth in

Local Rule 32.3 and the special condition that he spend a period

of six (6) months in a residential facility that will permit him




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to work while he receives the benefit of drug abuse counseling

and treatment.


           The defendant was remanded to the custody of the

United States Marshal.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:       September 26, 2017


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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